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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                             FACTUAL ALLEGATIONS
                                                      IN SUPPORT OF JUDICIAL REMOVAL
        - against –
                                                      Criminal Docket No. 15 Cr. 333 (LTS)
 ZIV ORENSTEIN,

                           Defendant.

 – – – – – – – – – – – – – – – – – –X

       NOTICE IS HEREBY GIVEN TO ZIV ORENSTEIN (“the defendant”) and to his attorney

of record herein, Alan S. Futerfas, Esq., that the United States of America alleges the following

facts in support of the Notice of Intent to Request Judicial Removal:

       1.       The defendant is not a citizen or national of the United States.

       2.       The defendant is a native and citizen of Israel.

       3.       On or about June 9, 2016, the defendant was paroled into the United States for

                prosecution at or near Newark International Airport, NJ.

       4.       At the time of sentencing in the instant criminal proceeding, the defendant will be

                convicted in the United States District Court, Southern District of New York, of the

                following offenses: Conspiracy to Commit Identification Document Fraud, in

                violation of 18 U.S.C. § 1028(f); Aggravated Identity Theft, in violation of 18

                U.S.C. §§ 1028A, 2; Conspiracy to Violate the Unlawful Internet Gambling

                Enforcement Act, in violation of 18 U.S.C. § 371; Violation of the Unlawful

                Internet Gambling Enforcement Act, in violation of 31 U.S.C. §§ 5363, 5366; 18

                U.S.C. § 2; Operation of an Illegal Gambling Business, in violation of 18 U.S.C.

                §§ 1955, 2; Conspiracy to Commit Wire Fraud in relation to an unlawful payment
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                  processing scheme, in violation of 18 U.S.C. § 1349; and Conspiracy to Commit

                  Money Laundering in relation to a securities market manipulation scheme and

                  internet gambling and payment processing schemes, in violation of 18 U.S.C. §

                  1956(h).

         5.       A total maximum sentence of 90 years’ imprisonment may be imposed for the

                  above-mentioned offenses, with the exception that the offense of Aggravated

                  Identity Theft carries a mandatory consecutive term of 2 years’ imprisonment.

         6.       The defendant is, and at time of sentencing will be, subject to removal from the

                  United States pursuant to Section 212(a)(7)(A)(i)(I) of the Immigration and

                  Nationality Act of 1952, as amended, (the “Act”), 8 U.S.C. § 1182(a)(7)(A)(i)(I),

                  as an immigrant who, at the time of application for admission, is not in possession

                  of a valid unexpired immigrant visa, reentry permit, border crossing card, or other

                  valid entry document required by the Act, and a valid unexpired passport, or other

                  suitable travel document, or document of identity and nationality as required under

                  the regulations issued by the Attorney General under Section 211(a) of the Act; and

                  Section 212(a)(2)(A)(i)(I) of the Act, 8 U.S.C. § 1182(a)(2)(A)(i)(I), as an alien

                  convicted of a crime involving moral turpitude.

         WHEREFORE, pursuant to Section 238(c) of the Act, 8 U.S.C. § 1228(c), the United States

of America requests that the Court order the defendant removed from the United States to Israel.

Dated:     New York, New York
           October 19, 2020
                                                       AUDREY STRAUSS
                                                       Acting United States Attorney
                                                       Southern District of New York

                                        By:     ___________________
                                                Eun Young Choi, Assistant United States Attorney
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                             DEFENDANT’S PLEA STATEMENT IN
                                                      SUPPORT OF JUDICIAL REMOVAL
         - against –
                                                      Criminal Docket No. 15 Cr. 333 (LTS)
 ZIV ORENSTEIN,

                           Defendant.

 – – – – – – – – – – – – – – – – – –X


                ZIV ORENSTEIN, defendant in the above-captioned criminal proceeding, hereby

states as follows:

       1.       My true and correct name is ZIV ORENSTEIN.

       2.       I received a Notice of Intent to Request Judicial Removal (“Notice”), dated,

                October 19, 2020. I am the person identified in that document. I hereby waive my

                right, pursuant to Section 238(c)(2)(A) of the Immigration and Nationality Act of

                1952, as amended (the “Act”), 8 U.S.C. § 1228(c)(2)(A), to have the Notice served

                upon me prior to the commencement of the trial or entry of a guilty plea in this case.

       3.       I received the Factual Allegations in Support of Judicial Removal (“Allegations”),

                dated October 19, 2020. I hereby waive my right, pursuant to Section 238(c)(2)(B)

                of the Act, 8 U.S.C. § 1228(c)(2)(B), to have the allegations served 30 days prior

                to sentencing.

       4.       My rights in a judicial removal proceeding have been fully explained to me by my

                attorney, Alan S. Futerfas, Esq.       After consultation with my counsel and

                understanding the legal consequence of doing so, I knowingly and voluntarily

                waive the right to the notice and hearing provided for in Section 238(c)(2) of the
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         Act, 8 U.S.C. § 1228(c)(2), and further waive any and all rights to appeal, reopen,

         reconsider, or otherwise challenge this order. I understand the rights I would

         possess in a contested administrative proceeding and I waive these rights, including

         the right to examine the evidence against me, present evidence on my own behalf,

         and cross examine witnesses presented by the United States. I understand these

         rights and waive further explanation by the Court.

5.       I hereby admit that all of the factual allegations set forth in the Allegations are true

         and correct as written.

6.       I hereby concede that I am removable from the United States pursuant to Section

         212(a)(7)(A)(i)(I) of the Act, 8 U.S.C. § 1182(a)(7)(A)(i)(I), as an immigrant who,

         at the time of application for admission, is not in possession of a valid unexpired

         immigrant visa, reentry permit, border crossing card, or other valid entry document

         required by the Act, and a valid unexpired passport, or other suitable travel

         document, or document of identity and nationality as required under the regulations

         issued by the Attorney General under Section 211(a) of the Act; and Section

         212(a)(2)(A)(i)(I) of the Act, 8 U.S.C. § 1182(a)(2)(A)(i)(I), as an alien convicted

         of a crime involving moral turpitude.

7.       I hereby waive any and all rights I may have to any and all forms of relief or

         protection from removal, deportation, or exclusion under the Act, as amended, and

         related federal regulations. These rights include, but are not limited to, the ability

         to apply for the following forms of relief or protection from removal: asylum;

         withholding of removal under Section 241(b)(3) of the Act, 8 U.S.C. § 1231(b)(3);

         any protection from removal pursuant to Article III of the United Nations
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         Convention Against Torture, including withholding or deferral of removal under 8

         C.F.R. §§ 208.16-17 and 1208.16-17; cancellation of removal; adjustment of status;

         registry; de novo review of a denial or revocation of temporary protected status

         (current or future); waivers under Sections 212(h) and 212(i) of the Act, 8 U.S.C.

         §§ 1182(h), 1182(i); visa petitions; consular processing; voluntary departure or any

         other possible protection or relief from removal available under the Constitution,

         laws or treaty obligations of the United States.

8.       I agree to the entry of a stipulated judicial order of removal pursuant to Section

         238(c)(5) of the Act, 8 U.S.C. § 1228(c)(5). I acknowledge that I have not been

         persecuted in Israel and have no present fear of persecution in Israel, the country of

         my citizenship. I further acknowledge that I have not been tortured in Israel and

         have no present fear of torture in Israel, the country of my citizenship.

9.       I consent to the introduction of this statement as an exhibit in the record of these

         judicial removal proceedings. I further agree to make the judicial order of removal

         a public document, waiving my privacy rights, including any privacy rights that

         might exist under 8 C.F.R. § 208.6.

10.      I agree to assist U.S. Immigration and Customs Enforcement (“ICE”) in the

         execution of my removal. Specifically, I agree to assist ICE in the procurement of

         any travel, identity, or any other documents necessary for my removal; to meet with

         and to cooperate with representatives of any country to which I may by statute be

         removed if ICE so requests; and to execute any forms, applications, or waivers

         needed to execute or expedite my removal. I further understand that my failure or
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